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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


DIAMOND SERVICES                          )   Case No. 21-mc-00036
MANAGEMENT COMPANY, LLC and               )
FREDERICK GOLDMAN, INC.,                  )
                                          )   Case in Other Court: Diamond
           Petitioners,                   )   Services Management Company, LLC
                                          )   et al. v. C&C Jewelry Manufacturing,
      v.                                  )   Inc. et al.,
KNOBBE, MARTENS, OLSON & BEAR,            )
LLP,                                      )   Case No. 19-cv-07675 (N.D. Illinois)
                                          )
and                                       )
                                          )
KENEALY VAIDYA, LLP                       )
                                          )
           Respondents.                   )


 KNOBBE, MARTENS, OLSON & BEAR, LLP’S RESPONSE TO MOTION TO
                          COMPEL




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       Third Party Knobbe, Martens, Olson & Bear, LLP (“Knobbe”) hereby responds to
the Motion to Compel of Petitioners Diamond Services Management Company, LLC
(“Diamond”) and Frederick Goldman, Inc. (“Goldman”) (collectively “Petitioners”) as
follows:
                              FACTUAL BACKGROUND
       1.     On January 21, 2021, Petitioners served third-party Knobbe with a
subpoena in connection with Diamond Services Management Company, LLC and
Frederick Goldman, Inc. v. C&C Jewelry Manufacturing, Inc. and Robert G. Connolly,
Case No. 19-cv-07675 (N.D. Ill.) (the “Illinois Action”). The subpoena requested that
Knobbe produce documents relating to a request for certificate of correction to U.S.
Patent No. 6,928,734 that Knobbe filed on behalf of an anonymous client.
       2.     On February 2, 2021, counsel for Knobbe conducted a meet and confer
with counsel for Petitioners to discuss the subpoena. Champion Decl. ¶ 2. During the
meet and confer, counsel for Petitioners explained that the goal of the subpoena was to
identify Knobbe’s client so that Petitioners could determine if that client had any
relationship to the defendants in the Illinois Action. Id. Counsel for Knobbe explained
that the identity of its client was confidential and requested a copy of the protective order
in the Illinois Action. Id.
       3.     On February 10, 2021, counsel for Petitioners provided Knobbe with a
copy of the protective order in the Illinois Action. Champion Decl. Ex. 1.
       4.     On February 12, 2021, counsel for Knobbe and counsel for Petitioners
conducted a second meet and confer to discuss the subpoena and protective order in the
Illinois Action. Champion Decl. ¶ 4. Counsel for Knobbe expressed concern that the
protective order did not address materials produced by third parties. Id. Rather, the order
addressed only the documents and information produced by the named parties in the


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Illinois Action. See Ex. 1. Counsel for Knobbe also explained that the disclosure of its
client’s identity to Petitioners could be embarrassing or detrimental to its client and that
Knobbe would not produce that information given the current language in the protective
order. Id. ¶ 4. Counsel for Knobbe further explained that the materials requested in the
subpoena did not have any relevance to the Illinois Action because Knobbe’s client did
not have any relationship with defendants C&C Jewelry Manufacturing or Robert G.
Connolly. Id. Counsel for Petitioners thanked counsel for Knobbe for the representation
but stated that Petitioners would not accept counsel’s representation without proof. Id.
       5.     On February 16, 2021, Knobbe served its responses and objections to
Petitioners’ subpoena along with non-privileged responsive documents and a privilege
log. Mot. Ex. C.
       6.     On March 24, 2021, counsel for Petitioners sent Knobbe a letter stating that
Petitioners intended to file a motion to enforce the subpoena in the District of Columbia
and to “let me know if you believe a further [meet and confer] could be productive.”
Champion Decl. Ex. 2.
       7.     On March 26, 2021, counsel for Knobbe called counsel for Petitioners to
meet and confer in view of the March 24th letter. Champion Decl. ¶ 6. Counsel for
Knobbe also sent an email to counsel for Petitioners stating “Just left you a voicemail.
Please give me a call when you have a chance so we can discuss your letter.” Champion
Decl. Ex. 3. Approximately one hour later, and without acknowledging Knobbe’s offer
to meet and confer, counsel for Petitioners emailed Knobbe a copy of the present motion.
Champion Decl. Ex. 4.
       8.     On April 8, 2021, counsel for Petitioners called counsel for Knobbe to
discuss the present motion. Champion Decl. ¶ 8. During the call, counsel for Petitioners
stated that Petitioners would consider modifying the protective order in the Illinois


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Action to cover third parties, but that Petitioners would reserve the right to challenge any
confidentiality designations utilized by Knobbe.        Id.   Counsel for Knobbe thanked
counsel for Petitioners for acknowledging the issue with the protective order but also
reiterated that Knobbe’s client did not have any relationship with C&C Jewelry or Robert
Connolly. Id. Counsel for Petitioners responded that even if no formal relationship
existed, Petitioners still needed to identify Knobbe’s client because of the possibility that
an informal, unofficial relationship might exist. Id. Specifically, counsel for Petitioners
expressed concern that Knobbe’s client might work in the same building as Mr.
Connolly, have gotten lunch with him, or had some sort of other informal conversation
about the certificate of correction. Id.
       9.      On April 21, 2021, counsel for Knobbe emailed counsel for Petitioners to
explain that Knobbe had conducted an additional inquiry into whether any informal or
unofficial relationship existed between its client and the defendants in the Illinois Action.
Champion Decl. Ex. 5. Counsel’s email explained that after conducting this additional
inquiry Knobbe was willing to make several additional representations regarding its
client in the hopes of addressing Petitioners’ concerns. Id. Specifically, Knobbe’s
counsel made the following additional representations:
             Neither my client nor anyone affiliated with my client has ever had any
               relationship whatsoever with C&C Jewelry;

             Neither my client nor anyone affiliated with my client has ever had any
               relationship whatsoever with Mr. Connolly;

             My client does not share any physical office/building locations or office space
               with C&C Jewelry; and

             My client has never had any conversations with Mr. Connolly or any
               representative of C&C Jewelry.



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Id.

       10.   Counsel for Petitioners did not respond to the April 21, 2021 email and has
not provided any update regarding the modification of the protective order in the Illinois
Action. Champion Decl. ¶ 10.
                                 LEGAL STANDARD
       Fed. R. Civ. P. 26 provides that a court “may, for good cause, issue an order to
protect a party or person from annoyance, embarrassment, oppression, or undue burden
or expense.” Such an order may include “forbidding the disclosure or discovery,” or
“requiring that a trade secret or other confidential research, development, or commercial
information not be revealed or be revealed only in a specified way.” Fed R. Civ. P.
26(c)(1).
       Fed. R. Civ. P. 45 provides that a court for the district where compliance of a
subpoena is required must quash or modify that subpoena if it “requires disclosure of
privileged or other protected matter.” Fed. R. Civ. P. 45(d)(3)(A)(iii). The court where
compliance is required may also quash or modify the subpoena if the subpoena requires
“disclosing a trade secret or other confidential research, development or commercial
information.” Fed. R. Civ. P. 45(d)(3)(B)(i). Finally, the court may, instead of quashing
or modifying the subpoena, order production under specified conditions provided that the
serving party “shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship.” Fed. R. Civ. P. 45(d)(3)(C)(i).




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                                        ARGUMENT

A.     Petitioners’ Motion to Compel Compliance with the Subpoena Should Be
       Denied
       The Federal Rules of Civil Procedure provide for protective orders to prevent the
disclosure of confidential information. Fed R. Civ. P. 26(c)(1). Petitioners do not
dispute that the documents and information requested by the subpoena are confidential.
Mot. at 8, FN. 4. Instead, Petitioners argue that any concerns over confidentiality can be
addressed by the Protective Ordered entered in the Illinois Action. Id. But that order is
specific to the parties in the Illinois Action and does not contain any language addressing
materials produced by third parties. See Champion Decl. Ex. 1. Because Knobbe is not a
party to the Illinois Action there is no guarantee that the materials it produces in response
to the subpoena will remain confidential. Thus, at a minimum, Knobbe is entitled to
insist upon a court order that protects its confidential information even if Petitioners
believe such an order is unnecessary.
       The Federal Rules also permit a court to issue an order protecting a third party
from annoyance, embarrassment, oppression, or undue burden or expense. Fed R. Civ. P.
26(c)(1). Such an order should be entered here because the disclosure of the identity of
Knobbe’s client is likely to cause harm and embarrassment to the client. For example, if
Petitioners learn the identity of Knobbe’s client they may seek to retaliate against the
client for requesting a certificate of correction to U.S. Patent No. 6,928,734. Moreover,
during the meet and confer process, counsel for Petitioners did not provide any
assurances that it would accept Knobbe’s designation of materials as “Confidential” or
“Attorneys’ Eyes Only” pursuant to the protective order in the Illinois Action. Champion
Decl. ¶ 8. Rather, counsel for Petitioners stated that even if that order is modified to
include third parties, Petitioners may still seek to challenge Knobbe’s confidentiality



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designations. Id. But such challenges should be unnecessary. Knobbe has already
represented to Petitioners’ counsel on multiple occasions that its client has no relationship
whatsoever with any of the defendants in the Illinois Action. Champion Decl. ¶¶ 4, 8,
Ex. 5. This includes informal relationships and a representation that Knobbe’s client has
never had any conversation with Mr. Connolly or anyone at C&C Jewelry. Id. Such
representations should be more than sufficient to achieve Petitioners’ stated purpose of
the subpoena which is to “verify whether C&C has beached the License Agreement or
has improperly attempted to circumvent proceedings in the Illinois Action.” Mot. at 8.
Petitioners’ continued efforts to enforce the subpoena despite these representations by
Knobbe’s counsel is puzzling. To the extent Petitioners need to “verify” that C&C
Jewelry and Mr. Connolly were not involved in the filing of a certificate of correction by
Knobbe’s client, that verification can be obtained through discovery from those parties.
Petitioners should not be permitted to use a subpoena in the Illinois Action to extract the
identity of an unrelated party that has no connection to the dispute.
       In sum, Knobbe should not be forced to produce material that identifies its client
without assurances that the information will be kept confidential and not revealed to
Petitioners. Indeed, Petitioners have not demonstrated a substantial need to “verify” the
truth of Knobbe’s counsel’s representations. However, if this Court is inclined to order
Knobbe to disclose the identity of its client, it should condition the disclosure on
agreement by Petitioners’ counsel that they will not challenge the ATTORNEYS’ EYES
ONLY designation or otherwise disclose the identity of Knobbe’s client to Petitioners.
See Fed. R. Civ. P. 45(d)(3)(C)(i).
                                      CONCLUSION
       For the foregoing reasons, Petitioners’ Motion to Compel Compliance should be
denied.


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                                  Respectfully submitted,

Dated: April 23, 2021                 /s/ William R. Zimmerman
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